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     Lead Counsel and Counsel for
12   Lead Plaintiff Mark Samarghandi

13   [Additional counsel on signature page]

14
                                   UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
     THE RECKSTIN FAMILY TRUST, et al.,            No. 4:22-cv-01413-HSG
17   individually and on behalf of all others
     similarly situated,                           CLASS ACTION
18
                                                   STIPULATION AND ORDER TO
19                                Plaintiff,       CONTINUE HEARING ON MOTIONS
                                                   TO DISMISS
20            v.

21   C3.AI, INC., et al.,
22
                                  Defendants.
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     STIPULATION AND ORDER TO CONTINUE HEARING
     ON MOTIONS TO DISMISS                                           Case No. 4:22-cv-01413-HSG
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 1          Pursuant to Civil Local Rules 6-1(b), 6-2, and 7-7, Lead Plaintiff Mark Samarghandi (“Lead

 2   Plaintiff”), and Defendants C3, Inc. (“C3”), Thomas M. Siebel, Edward Y. Abbo, David Barter, and

 3   Lorenzo Simonelli (together, the “C3 Defendants”), and Baker Hughes Company (“Baker Hughes”

 4   and, together with the C3 Defendants, the “Defendants”), hereby agree and stipulate, through their

 5   respective counsel of record, that good cause exists to request an order from the Court continuing the

 6   hearing on Defendants’ Motions to Dismiss, as follows:

 7          WHEREAS, on January 10, 2023, the Court entered a stipulation and order setting deadlines

 8   for Plaintiffs’ Amended Class Action Complaint, Defendants’ motions to dismiss, Plaintiffs’

 9   opposition thereto, and Defendants’ replies (ECF No. 68);

10          WHEREAS, on February 15, 2023, Lead Plaintiff Mark Samarghandi filed an Amended Class

11   Action Complaint (ECF No. 71) alleging violations of the Securities Act of 1933 and the Securities

12   Exchange Act of 1934 against corporate defendants C3, Inc. and Baker Hughes Company, and

13   individual defendants Thomas M. Siebel, Edward Y. Abbo, David Barter, and Lorenzo Simonelli; and

14   violations of the Securities Act of 1933 against underwriter defendants Morgan Stanley & Co. LLC,

15   J.P. Morgan Securities LLC, BofA Securities, Inc., Deutsche Bank Securities, Inc., Canaccord Genuity

16   LLC, JMP Securities LLC, KeyBanc Capital Markets Inc., Needham & Company, LLC, Piper Sandler

17   & Co., and Wedbush Securities Inc. (the “Underwriter Defendants”).

18          WHEREAS, on April 11, 2023, the Court entered a stipulation and order extending time for

19   Defendants’ motions to dismiss, Plaintiffs’ opposition thereto, and Defendants’ replies (ECF No. 100);

20          WHEREAS, on May 1, 2023, the C3 Defendants, Baker Hughes, and the Underwriter

21   Defendants filed motions to dismiss the Amended Class Action Complaint. See ECF Nos. 105, 109,

22   113;

23          WHEREAS, on June 30, 2023, Plaintiffs and the Underwriter Defendants filed a Stipulation of

24   Voluntary Dismissal with Prejudice dismissing their claims against the Underwriter Defendants (ECF

25   No. 118);

26          WHEREAS, on June 30, 2023, Plaintiffs filed an omnibus opposition responding to the C3

27   Defendants’ and Baker Hughes’ Motions to Dismiss (ECF No. 119);

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     STIPULATION AND ORDER TO CONTINUE HEARING
     ON MOTIONS TO DISMISS – 1                                                   Case No. 4:22-cv-01413-HSG
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 1           WHEREAS, a hearing on Defendants’ motions to dismiss was originally noted for August 17,

 2   2023, at 2:00 p.m. (see ECF Nos. 105, 109, 113);

 3           WHEREAS, pursuant to the Clerk’s Notice, the hearing on Defendants’ motions to dismiss

 4   was continued to August 24, 2023, at 2:00 p.m. (ECF No. 126);

 5           WHEREAS, counsel for Plaintiffs are unavailable to attend the hearing on the continued date

 6   due to a longstanding work-related commitment taking place out-of-state between August 23 and

 7   August 25, 2023;

 8           WHEREAS, all parties consent to the requested relief;

 9           IT IS ACCORDINGLY STIPULATED AND AGREED, by and between the undersigned

10   counsel for the parties, subject to Court approval, that:

11           1.     The hearing on Defendants’ Motions to Dismiss is hereby continued to November 2,

12   2023.

13           IT IS SO STIPULATED.

14   DATED: August 8, 2023                          Respectfully submitted,

15                                                  /s/ Reed R. Kathrein
                                                    Reed R. Kathrein (SBN 139304)
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                                                    Lead Counsel and Counsel for
26                                                  Lead Plaintiff Mark Samarghandi

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28                                                  THE ROSEN LAW FIRM, P.A.

     STIPULATION AND ORDER TO CONTINUE HEARING
     ON MOTIONS TO DISMISS – 2                                                  Case No. 4:22-cv-01413-HSG
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 9   DATED: August 8, 2023               Respectfully submitted,

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24                                       Counsel for Defendants C3, Inc., Thomas M. Siebel,
                                         Edward Y. Abbo, David Barter, and Lorenzo Simonelli
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     STIPULATION AND ORDER TO CONTINUE HEARING
     ON MOTIONS TO DISMISS – 3                                         Case No. 4:22-cv-01413-HSG
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 1   DATED: August 8, 2023               Respectfully submitted,

 2                                       /s/ Jessica Valenzuela
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     STIPULATION AND ORDER TO CONTINUE HEARING
     ON MOTIONS TO DISMISS – 4                                      Case No. 4:22-cv-01413-HSG
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 1                        ATTESTATION PURSUANT TO CIVIL L.R. 5-1(h)(3)

 2          I, Reed R. Kathrein, am the ECF User whose identification and password are being used to file

 3   the foregoing document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that all

 4   signatories have concurred in this filing.

 5   DATED: August 8, 2023                        By:     /s/ Reed R. Kathrein
                                                        REED R. KATHREIN (139304)
 6

 7

 8
                            ORDER GRANTING STIPULATION
 9
            PURSUANT TO STIPULATION, IT IS SO ORDERED.
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11
     DATED: 8/10/2023
12                                                      HON. HAYWOOD S. GILLIAM, JR.
                                                        United States District Judge
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     STIPULATION AND ORDER TO CONTINUE HEARING
     ON MOTIONS TO DISMISS – 5                                                 Case No. 4:22-cv-01413-HSG
